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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
U.S. EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

Applicant,
v.

LOYOLA UNIVERSITY MEDICAL CENTER

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Respondent. )
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APPLICATION FOR ORDER TO SHOW CAUSE WHY
A SUBPOENA SHOULD NOT BE ENFORCED

Applicant, the U. S. Equal Employment Opportunity Commission (the “Commission’”)
requests this Court to enter Order to Show Cause directed against Respondent with respect to an
administrative subpoena issued by the Commission. In support of this Application, the

Commission states as follows:

1, This action for enforcement of administrative subpoena is instituted pursuant to
Section 107 of the Americans with Disabilities Act (*ADA), 42 U.S.C. § 12117, and Section 710
of Title VII of the Civil Rights Act of 1964, as amended, (“Title VII”) 42 U.S.C. §2000e-9.

2. Jurisdiction is conferred upon the Court by Section 107 of the ADA, 42 U.S.C. §
12117, and by Sections 706(f)(3) and 710 of Title VI, 42 U.S.C. §2000e-5(f)(3) and 9.

3. Applicant is an agency of the United States government charged with the
administration, interpretation and enforcement of the employment provisions of the Americans
with Disabilities Act, including the investigation of charges of unlawful employment practices,

4. On about February 25, 2011, the Commission issued and served upon
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Respondent EEOC Subpoena No. CH- 11-87 requiring Respondent to produce evidence as part
of the Commission’s investigation of a charge of unlawful employment practices which have
been filed against the Respondent.
5. Respondent has failed to produce the information requested in subpoena No.
CH 11-87.
WHEREFORE, the Commission requests:
(a) That an Order to Show Cause issue directing Respondent to appear before this
Court and to show cause, if there be any, why an Order should not be entered directing it to
produce the information requested in the Subpoena.
(b) That, upon the response to the Order to Show Cause, the Court enter an Order
directing the Respondent to produce the items requested in the Subpoena
(c) That the Commission be awarded court costs and attorney fees incurred in this
case,
(d) That the Commission be granted such other relief as may be necessary and
appropriate.
Respectfully submitted,
s/ Gordon Waldron
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